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IN THE UNITED STATES DISTRICT COURT POR THE WESTERN DIST!§{ D"“`-
TENNESSEE WESTERN DIVISION 95 mg

Kimberly Robinson Byars Q.EFF(]}?IA<§AS w G'QULD

Plainriff ;V`;IT“Z’T
VS_ No_ 0 ‘/» 327W?>9- ”7< '/

John E. Potter, Postmaster General
Defendant

 

Scheduli_n§g'der

Pursua.nt to written notice, a scheduling conference Was held August 25, 2005.

Present were Kimberly Byars, plaintiff, pro se, and Harriett Miller Halmon, counsel for

defendants At the conference, the following dates Were established as the final dates for:
INITIAL DISCLOSURES PURSUANT TO Fed. R. Civ.P.26(a)(1): September 15,
2005
JOINING PARTIES: OCTOBER 26, 2005
AMENDING PLEADINGS: OCTOBER 26, 2005
INITIAL MOTIONS TO DISMISS: NOVEMBER 28, 2005
COMPLETING ALL DISCOVERY: MARCH 01, 2006
(a) DOCUMENT PRODUCTION: MARCH 01, 2006
(b) DEPOSITIONS, INTERROGATORIES AND REQUES'I`S FOR
ADMISSIONS: MARCH 01, 2006
(c) EXPERT WITNESS DISCLOSURE (RULE 26):
(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: JANUARY 31, 2006
(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: JANUARY 31, 2006
(3) EXPER'I` WI'I`NESS DEPOSITIONS: MARCH 31, 2006

FILING DISPOSITIVE MOTIONS: rN\IaH'R€H 01, 2006
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Thl!\ document entered on the docket heat ln coo?|ianca
wlth Hu|e 58 and/or 79(3) FRCP on ¢§M

 

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OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All
motions, requests for admissions, or other filings that require a response must be filed
sufficiently in advance of the discovery cutoff date to enable opposing counsel to respond
by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline
or Within 30 days of the default or the service of the response, answer, or objection,
Which is the subject of the motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for good cause shown, or
the objection to the default, response, answer, or objection shall be Waived.

This case is appropriate for ADR. The parties are directed to engage in court-
annexed attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll (a)(l)(A), all motion,
except motions pursuant to Fed R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a
proposed order.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, Without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for Which a reply is required.

The parties have/:Iconsented to trial before the magistrate judge.
This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this order Will not be

modified or extended

IT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number l2 in
case 2:04-CV-02939 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

ESSEE

 

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Dana E. Morris

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l\/lemphis7 TN 38166--017

Harriett M. Halmon

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

